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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION

                                                      §
FIRST BANK & TRUST,                                   §
                                                      §
                  Plaintiff,                          §
                                                      §
vs.                                                   §   Cause No.5:18-cv-00234-C
                                                      §
REAGOR AUTO MALL, LTD. d/b/a                          §
REAGOR-DYKES OF LEVELLAND and                         §
d/b/a REAGOR-DYKES IMPORTS,                           §
FIRSTCAPITAL BANK OF TEXAS, N.A.,                     §
BART REAGOR, RICK DYKES, SHANE                        §
SMITH, SHEILA MILLER, BRAD D.                         §
BURGESS, and KENNETH L. BURGESS,                      §
                                                      §
                  Defendant.                          §


        PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST
                      DEFENDANTS REAGOR AND DYKES

         Plaintiff First Bank & Trust (“First Bank”) respectfully moves this Court, pursuant to FED.

R. CIV. P. 56, for an order granting First Bank’s Motion for Partial Summary Judgment and

entering judgment in favor of First Bank against Defendants Bart Reagor and Rick Dykes, jointly

and severally, in the amount of $3,272,055.70. First Bank also requests that the Court find thatFirst

Bank is entitled to recover it attorneys' fees and court costs, subject to submission of proof as to

the amount and reasonableness of the fees and expenses on a schedule to be set by the Court.

         In support of its Motion, First Bank submits a Brief in Support of its Motion for Partial

Summary Judgment against Defendants Reagor and Dykes, the Affidavit of Jared Townsend, the

Affidavit of Matthew R. Miller, and an appendix containing the evidence relied upon by First

Bank.



PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST DEFENDANTS REAGOR AND
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                                    REQUEST FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court grant First Bank’s Motion for

Partial Summary Judgment; enter judgment in favor of First Bank and against Defendants Bart

Reagor and Rick Dykes in the amount of $3,272,055.70, and order that First Bank is entitled to

recover its attorneys' fees and costs; and grant First Bank such other and further relief, special or

general, legal or equitable, to which First Bank may show itself justly entitled.


                                                      Respectfully submitted,

                                                      STINSON LEONARD STREET LLP

                                                      By: /s/ Paul B. Lackey
                                                         Paul B. Lackey
                                                         State Bar. No. 00791061
                                                         paul.lackey@stinson.com
                                                         Michael P. Aigen
                                                         State Bar No. 24012196
                                                         michael.aigen@stinson.com
                                                         Matthew R. Miller
                                                         State Bar No. 24013165
                                                         matt.miller@stinson.com

                                                      3102 Oak Lawn Avenue, Suite 777
                                                      Dallas, Texas 75219-4259
                                                      Telephone: (214) 560-2201
                                                      Telecopier: (214) 560-2203

                                                      ATTORNEYS FOR PLAINTIFF FIRST
                                                      BANK & TRUST


                                 CERTIFICATE OF SERVICE

       I certify that on August 30, 2019, a true and correct copy of the foregoing document was
served on all counsel of record via the Court’s electronic filing system.

                                                        /s/ Matthew R. Miller
                                                         Matthew R. Miller




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